    Case 1:18-cv-05290-CM Document 12-14 Filed 06/21/18 Page 1 of 3




                                   	
                                   	
                                   	
                       EXHIBIT	1	
	                      	
        Case 1:18-cv-05290-CM Document 12-14 Filed 06/21/18 Page 2 of 3



Transcript of Conversation Between Lutron Sales Representative and Carl Milianta
                at ICFF Trade Show in New York, NY on May 421 2018.


       Dialogue between Lutron Sales Representative and Carl Milianta starts at .12 in
recording.

Lutron Representative (“L”): …automated, totally integrated into the bracket. The parts
and pieces.

Carl Milianta (“C”): So, where are you bringing your electricity from?

L: It goes right into the back of the bracket. Just like this. So it routes through the leg of
the bracket. Comes out the other side, then, plugs into the drive. And then this wires back
to your panel.

C: And does it link from one to the next? Is one motor driving each…

L: This is two drives.

C: Two drives.

L: Yep, one shade one drive. [Unintelligible] really so that we could manage the limits of
each shade independently because as the move down with this new M-bar they need to be
[unintelligible] to the line.

C: How uh, how long can you do a shade?

L: Twelve feet by twelve feet.

C: This looks like somebody else’s product that I saw.

L: That makes brackets?

C: Yeah.

L: Well this came out from Lutron...in um September of last year. So it’s still pretty new,
um but it, it was designed to match our face plate. These face plats came out in 2015 or so.

C: Is it battery or, do you have battery?

L: We do not have batteries. This is wired only.

C: Geiger. That’s the name of the company.

L: Oh, J Geiger
        Case 1:18-cv-05290-CM Document 12-14 Filed 06/21/18 Page 3 of 3




C: Right.

L: Sure.

C: Looks just like it, doesn’t it?

L: Um, it’s a little different, in that everything is integral to the bracket. So with some of
the solutions you can see some of the components when…If you were this close for example
to something that wasn’t a Lutron you might see some of the gears, some of the wiring, the
antenna pieces…

C: In the J Geiger part or..

L: No in these gaps, in other solutions. So, this is the only solution out there where every
single piece is integrated. So, the whole point is that we have this rotating ring where all of
the drive components and mechanics are accessible through here, and then they rotate out
of the way. What is also really nice, is when the shade goes up all the way, um the design of
this M-bar is designed to meet perfectly with the bracket geometry so it hides behind the
roller. So, most M-bars actually lay below the brackets, so you can see about an inch of
space…

C: Right…

L: …and you have to accommodate that when you are mounting your shade above the
window, but this hides right behind that pole, so it’s just a plank.

C: Almost…

L: Almost, depends on your vantage point right, depends on your roller.

C: Right, right.

L: So what do you guys do?

C: Thank you very much. Uh, we are in the mostly office furniture business.

L: So, do you get into shades very often?

C: We do, we do….well thank you so much.

L: Absolutely

C: Have a good day.




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